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                                EXHIBIT B
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                                          NAUTILUS INSURANCE COMPANY
                                                                       Scottsdale, Arizona


                                 COMMERCIAL GENERAL LIABILITY DECLARATIONS

     POLICY NUMBER:                  BK200455500                                         NEW
     INSURED’S NAME AND ADDRESS:                                                         PRODUCER’S NAME ~AND ADDRESS:
     Coaster Company of America : Yeh Family Limited                                     Brown & Riding
     Partnership LP                                                                      777 South Figueroa Street
     12928 Sandoval Street                                                               Suite 2550
     Sante Fe Springs, CA 90670                                                          Los Angeles, CA 90017



     POLICY PERIOD: February 1, 2012 to February 1,2013 at 12:01 a.m. Standard Time at your mailing address shown above.


     IN RETURN FOR THE PAYMENT OF PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
                      WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.



     General Aggregate Limit (Other than Products/Completed Operations)                                                            $2,0OO,000
     Products/Completed Operations Aggregate Limit                                                                                 $2,000,000
     Each Occurrence Limit                                                                                                         $1,000,000
     Personal & Advertising Injury Limit                                                                                           $1,000,000
     Damage to Premises Rented to You Limit                                                                                           $100,000
     Medical Expense Limit                                                                                                             $1o,ooo
     Employee Benefits Liability- Each Employee                                                                                    $1,000,000
     Employee Benefits Liability - Aggregate                                                                                       $1,000,000



                                                                                                              PREMIUM $296,625.00
                                                                                                              POLICY FEE $0
                                                                                                              INSPECTION FEE $0
                                                                                                              STATE TAX $8,898.75
                                                                                                              STAMPING FEE $741.56
                                                                                                              TOTAL $306,265.31
                                                                                                              CALIFORNIA SURPLUS LINES
                                                                                                              LICENSE #SL0592033




     SEE D-2 FORM (01-09) - California Surplus Lines Notice




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CONFIDENTIAL                                                                                                                                             COA 000065
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     RETROACTIVE DATE (APPLICABLE TO CLAIMS MADE COVERAGES):
     Employee Benefits Liability                                            February 1, 2009



     DESCRIPTION OF BUSINESS:
     FORM OF BUSINESS:
      []    Corporation                               []    Individual                   []     Joint Venture               []     Partnership

      []    Limited Liability Company                 []    Other (describe):

     BUSINESS DESCRIPTION:                           importer and wholesaler of furniture

     LOCATION DESCRIPTION:                           As on file with the Company




     Commercial General Liability Occurrence
           Self Insured Retention:                          $75,000        Per Occurrence "Wheeled Chairs" Includes ALAE & defense costs
                                                            $10,000        Per Occurrence "All Other" Includes ALAE & defense costs
     Employee Benefits Liability
           Deductible:                                        $5,000       Each Employee Per Claim Includes ALAE & defense costs



     PREMIUM:
                                   PREMIUM BASIS                                                  RATE                      PER                        PREMIUM
     $ 320,000,000                                                                               $0.883                 Per $1,000                           282,500
                                                                                                                         Receipts


                                                                                               TOTAL PREMIUM                                  $              282,500
                                                                                TERRORISM ADDITIONAL PREMIUM                                  $               14,125
                                                                                                      ADVANCE PREMIUM                         $              296,625
                                                                                           MINIMUM EARNED PREMIUM                             $               70,625



     FoRMS.~NDENDORSEMENTS (Other than applicable Forms and Endorsements sh~).wnelsewhei’ein the policy):~
     Forms and Endorsements applying to this Coverage Part and made a part of the policy at time of issue:
     SEE SC-FORMS (09-04) - SCHEDULE OF FORMS AND ENDORSEMENTS


     NAME AND. ADDRESS OF ADMINISTRATIVE OFFiCE:                                                             ~    i                  "    i       ~.     ~
     Berkley Specialty Underwriting Managers LLC
     Three Ravinia Ddve, Suite 500
     Atlantic, GA 30346
     Phone.: (404) 443-2040. See Claims Notice for Claims contact information.

       THESE DECLARATION(S) TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE FORM(S), AND
        ANY ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED
                                                POLICYo




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       Countersigned:
             Issue Date:      2/712012                                                                                      (Authorized Representative)




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CONFIDENTIAL                                                                                                                                                 COA 000067
